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UNITED STATES DISTRICT COURT                         DATE FILED:
SOUTHERN DISTRICT OF NEW YORK
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                                                          14-cv-9662
In re: PETROBRAS SECURITIES
LITIGATION                                                OPINION AND ORDER

-------------------------------------x
JED S. RAKOFF, U.S.D.J.

      The $3 billion settlement of this somewhat large securities

class action is before the Court for final approval. The Settlement

Agreement 1 comports with all legal requirements, and the objections

to the settlement are without merit. But the nearly $300 million

in attorneys'    fees   requested by plaintiffs'          counsel needs to be

reduced by roughly one-third.

      Named plaintiffs Universities Superannuation Scheme Limited

acting as sole corporate trustee for Universities Superannuation

Scheme   ("USS"),    North    Carolina       Department   of   State   Treasurer

("North Carolina"), and Employees' Retirement System of the State

of   Hawaii   ("Hawaii")     (collectively,      "Class   Representatives"        or

"Class Plaintiffs"), seek final approval of a proposed settlement

agreement with defendants Petr6leo Brasileiro S.A.                 ("Petrobras"),

Petrobras     Global       Finance   B. V.,       Petrobras     America        Inc.

(collectively,      the "Petrobras Defendants"),          BB Securities Ltd.,

Ci ti group Global Markets Inc.,         J.P.   Morgan Securities LLC,         I tau


1 Except where otherwise noted, all capitalized terms in this
Opinion and Order have the same meanings as those assigned to them
in the Stipulation of Settlement and Release. See Dkt. 767-1.

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BBA USA Securities, Inc., Morgan Stanley & Co. LLC, HSBC Securities

(USA)    Inc., Mitsubishi UFJ Securities (USA), Inc., Merrill Lynch,

Pierce, Fenner & Smith Incorporated, Standard Chartered Bank, Bank

of China (Hong Kong)            Limited, Banco Bradesco BBI S.A., Banca IMI

S. p. A., Scotia Capital         (USA)    Inc.       (collective 1 y, the "Underwriter

Defendants"), Almir Guilherme Barbassa, Jose Carlos Cosenza, Paulo

Roberto     Costa,    Renato      de     Souza       Duque,    Guillherme    de    Oliveira

Estrella,     Maria       das   Graca    Silva       Foster,    Jose Miranda        Formigli

Filho,     Jose    Sergio Gabrielli,         Silvio Sinedino          Pinheiro,       Daniel

Lima de Oliveira, Jose Raimundo Brandao Pereira, Servio Tulio da

Rosa Tinoco,       Paulo Jose Alves, Gustavo Tardin Barbosa, Alexandre

Quintao Fernandes,          Marcos Antonio Zacarias,               Cornelis Franciscus

Jozef Looman,        Theodore M.         Helms       (collectively,      the "Individual

Defendants"), Banco Votorantim Nassau Branch, Santander Investment

Securities        Inc.,    Petrobras      International          Finance    Company,      and

PricewaterhouseCoopers            Auditores          Independentes       ("PwC    Brazil") . 2

See Memorandum of Law in Support of Class Plaintiffs' Motion for

Final Approval of Settlement and Plan of Allocation ("Pl. Mero."),

Dkt.    776. Contingent on approval of the settlement,                           counsel for

Class     Representatives,          namely,          Pomerantz     LLP     ("Pomerantz"),

Labaton Sucharow LLP             ("Labaton"),         and Motley Rice LLC           ("Motley




2 Pursuant to the Stipulation of Settlement and Release, Dkt. 767-
1, however, Paulo Roberto Costa and Renato de Souza Duque are not
Released Parties, id. at 22.

                                                 2
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Rice")   3   (collectively, "Class Counsel"), move for fees and costs,

see Dkt. 791, as do four other law firms, namely, Wolf Popper LLP

("Wolf       Popper"),      Almeida      Advogados          ("Almeida"),       Kahn,       Swick   &


Foti,    LLC    ("KSF"),        and Bernstein Litowitz Berger & Grossmann LLP

("BLBG"),      who are counsel            for plaintiffs            in related individual

actions, see Dkts. 777, 781, 784.

        Six members of the class filed timely objections to either

the settlement, the motion for fees and expenses, or both: William

Thomas Haynes,         as trustee for the W Thomas Haynes and Katherine

Haynes       Irrevocable         Trust    for       the     benefit    of     Sara    L.    Haynes

("Haynes"),          see    Objection         of    William     Thomas       Haynes        ("Haynes

Obj."),      Dkt.    797; Spencer R.           Bueno,       see Objections of Spencer R.

Bueno to Class Action Settlement                        ("Bueno Obj."),       Dkt.    803; Julio

A.     Martinez       and       Sandra   V.        Bennun    Serrano        ("Martinez"),       see

Objection to Approval of Class Action ("Martinez Obj."), Dkt. 806;

Mathis and Catherine Bishop ("Bishop"), see Objection to Proposed

Settlement and Fee Application                      ("Bishop Obj."),         Dkt.    811; Giulio

Formenti on behalf of Renewable Carbon Corporation                                  ("Formenti"),

see     Objection          to    the     Petrobras          Securities       Litigation        Case

("Formenti          Obj."),      Dkt.    812;       and   Richard     and     Emelina      Gielata

( "Giela ta") ,      see Shareholder Objections                 to    Proposed Settlement,




3    Motley Rice is counsel for Union Asset Management Holding AG.

                                                    3
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Plan of Allocation, Proof of Claim, Class Notice and Request for

Attorneys' Fees ("Gielata Obj."), Dkt. 813.4

      Class Plaintiffs,          responding to the objections,          argue that

they are without merit. See Reply Memorandum of Law in Support of

(1)   Lead Plaintiff's Motion for               Final Approval of Class Action

Settlement and Plan of Allocation; and (2) Class Counsel's Motion

for an Award of Attorneys'           Fees and Reimbursement of Litigation

Expenses     ("Pl.    Reply"),    Dkt.    824. 5 Defendants concur as regards

the      Settlement     Agreement,        see     Petrobras      Defendants'    and

Underwriter     Defendants'       Reply    in    Support   of   Class   Plaintiffs'

Motion for Final Approval of Settlement and Plan of Allocation

("Def.      Reply") ,    Dkt.     825;     PricewaterhouseCoopers        Audi tores

Independentes'       Reply in Support of Class Plaintiffs'              Motion for

Final Approval of Settlement and Plan of Allocation, Dkt. 828, and




4 The Court is also in receipt of a letter from MaryAnne Lassegard
who objects to the notice and settlement amount. See Letter dated
June 5, 2018, Dkt. 832. This objection is untimely and Ms.
Lassegard has not demonstrated standing to object. Id. Ms.
Lassegard's objection is also without merit as Ms. Lassegard is
incorrect that smaller shareholders will be disadvantaged by this
Settlement compared with larger shareholders.

5 Class Plaintiffs have also accused certain objectors of having
improper motives including, in the case of Bueno and Gielata,
allegedly seeking to extort personal payments through the device
of frivolous appeals. See Pl. Reply at 4-14. As Class Plaintiffs
do not currently seek any specific relief at the district court
level, and the allegations of extortion, if true, will only become
evident on appeal, the Court sees no need to reach these issues at
this time.


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take no position on the               Plan of Allocation or Class Counsel's

motion for fees and costs, see id.6

      By   way    of    brief    background,         on   February    1,    2018,     Class

Plaintiffs       moved,     unopposed,         for    preliminary        approval     of   a

settlement agreement, see Dkt. 765, pursuant to the terms of which,

the Petrobras Defendants would pay $2.95 billion and PwC Brazil

would pay $50 million to the class in exchange for releases from

all claims. See Stipulation of Settlement and Release,                         Dkt.    767-

1; Amended Stipulation and Agreement of Settlement, Dkt.                            767-10.

On February 23, the Court held a preliminary approval hearing. See

Transcript,      Dkt.     773.   On    February 28,        the   Court     granted Class

Plaintiffs' motion for preliminary approval. See Order at 2, Dkt.

770. Thereafter, more than one million copies of the Class Notice

were mailed to potential class members and a summary notice was

published in major news publications worldwide. See Pl. Reply at

1.

      On April 20, Class Plaintiffs moved for final approval of the

proposed Settlement and Plan of Allocation and certification of

the   Settlement        Class.   See    Dkt.       776.   No   institutional    investor




6 At the request of the Court, the Petrobras Defendants submitted
a letter identifying time entries in Class Counsel's fee request
warranting the Court's attention. See Letter from the Petrobras
Defendants dated May 7, 2018 ("Def. Ltr.") at 2, Dkt. 793. Also at
the Court's request, Class Counsel submitted a reply. See Letter
on Behalf of Class Representatives dated May 18, 2018 ("Pl. Ltr."),
Dkt. 814.

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objected    to    the     Settlement    Agreement,             Plan   of   Al location,   or

proposed fee award and all but one of the institutional plaintiffs

who had previously filed separate lawsuits but had not yet settled

with defendants indicated their intention to remain members of the

class and forego their individual claims. See Pl. Reply at 1-2. 7

On June    4,    2018,    the Court held a              settlement hearing at which

objectors Haynes and Martinez appeared. See Transcript dated June

4, 2018 ("Tr."). After careful consideration of all the voluminous

written filings and oral argument in this case, the Court hereby

grants Class Plaintiffs' motion for final approval,                          finding that

the   Settlement         Agreement     and       Plan     of    Allocation      are   fair,

reasonable,      adequate,    and comport with all                requirements of law.

The Court also grants in full the motions of Wolf Popper, Almeida,

and KSF for fees and costs, but only grants in part the motions of

Class Counsel and BLBG for the same.

I.    The Stipulation of Settlement and Plan of Allocation




7 More than a dozen institutional investors filed separate, so-
called "tag-along" actions based on the same basic allegations as
the class complaint. Several have previously settled, and, with
one exception, the remainder have decided to forgo their separate
actions and, instead, receive their pro rata distributions as
members of the class. The only separate institutional investor
that has not so far indicated that it will, in effect, opt in to
the settlement is Washington State Investment Board ("WSIB").
Counsel for that party and counsel for defendants should jointly
call chambers by no later than July 2, 2018 to schedule the prompt
trial of that remaining case.

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      This case grows out of a massive fraud, but whether defendants

were responsible for the fraud or were themselves victims of the

fraud was    one   of    several   hotly-contested       issues    that made     the

outcome of this case uncertain. The proposed settlement followed

more than three years of litigation including, among other things,

non-frivolous      (though mostly unsuccessful)          motions by defendants

to   dismiss plaintiffs'      claims,   defeat        class   certification,     and

obtain summary judgment in their favor, as well as extensive fact

and expert discovery (including 68 depositions and review of more

than 25 million pages of documents),              preparations for         trial,   a

substantial Second Circuit appeal,             and a fully briefed petition

for certiorari.     See Pl. Mem.      at 5-6.    Familiarity with all these

prior matters is here assumed.

      The   Settlement     Amount    equals     approximately      22.3%    of   the

likely recoverable damages suffered by the class (as estimated by

Class Plaintiffs).       See id.    at 1.    It represents, moreover,         a 65%

premium     over   the    recoveries        enjoyed    by     various   individual

plaintiffs    (sophisticated institutional investors represented by

experienced counsel) who have previously reached settlements with

the Petrobras Defendants. Id. at 2. Furthermore, as mentioned, all

but one of the remaining institutional plaintiffs have indicated

their intention to remain class members and forgo their individual

claims. See Pl. Reply at 1-2.




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        Under Federal Rule of Civil Procedure 23(e), the Court must

approve a class action settlement before it can take effect.                                       "A

court   may    approve       a    class    action           settlement        if    it    is   fair,

adequate,     and reasonable,            and not a product of collusion." Wal-

Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 116 (2d Cir.

2005)   (internal quotations omitted). In making its determination,

the Court can take into account,                      inter alia,       (1)    the complexity,

expense, and duration of the litigation;                        (2) the class's reaction

to the settlement; (3) the stage of the proceedings and the amount

of discovery completed;             (4)   the risks of establishing liability;

(5) the risks of establishing damages; (6) the risks of maintaining

the class action through trial;                       (7)    the defendants'             ability to

withstand a greater judgment; and (8) the range of reasonableness

of the settlement fund in light of best possible recovery and all

attendant litigation risks. See City of Detroit v. Grinnell Corp.,

495 F.2d 448,        463    (2d Cir.       1974).       Furthermore if,             as here,       the

"settlement      class"      is    different           from    the     litigation         class     or

classes     previously       certified,          the        Court    must     now    certify       the

settlement class, although certain Rule 23 considerations are not

applicable      in   this    context.          See,    e.g.,        Amchem Prods.,          Inc.    v.

Windsor,      521 U.S.      591,    620    (1997)           ("a district court need not

inquire whether        the       case,    if    tried,        would present          intractable

management problems                       for the proposal is that there be no

trial").

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        Since,          in preliminarily approving the proposed settlement,

the Court tentatively concluded that all the forgoing standards

for     approval          had       been    met,    it        makes      sense   to    re-visit     these

preliminary conclusions chiefly in terms of the objections that

have now been                 raised.      Objectors here principally challenge                          (1)

certification,                (2)    the sufficiency of the class notice,                         (3)    the

proposed cy pres                    recipient,      and       (4)   the settlement amount.               The

Court reviews each of these objections in turn.                                    (Several objectors

also take issue with the fee award requested by Class Counsel; the

Court addresses these latter objections in Part II, infra.)

  A. Certification

        Objectors             argue        that     the       proposed       settlement       class          is

overbroad,              and     that,       accordingly,            it     fails      to   satisfy       the

requirements of Rule 23 that (1) the diverse groups and individuals

within the class be adequately represented by the named plaintiffs,

see Haynes Obj.                at 3-8; Gielata Obj.                   at 1-8; Bueno Obj.       at 6-9,

and that          (2)    common issues of law and fact predominate over those

issues subject only to individualized proof, see Haynes Obj. at 9-

12.

      (1)     Adequate Representation

            The   proposed           settlement       agreement           defines      the   Settlement

Class        as    al 1   persons          who     purchased          Petrobras       Securities        in    a

transaction "that satisfies any of the following criteria:                                        (i) any

transaction in a Petrobras Security listed for trading on the New

                                                          9
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York Stock Exchange ("NYSE");                (ii)    any transaction in a Petrobras

Security     that      cleared or     sett led       through      the    Oeposi tory Trust

Company's        book-entry       system;     or     (iii)     any      transaction          in     a

Petrobras       Security to        which    the     United States         securities         laws

apply,     including as applicable pursuant to the Supreme Court's

decision     in Morrison v.          National Australia Bank,               561       U.   s. 24 7
(2010) ." Stipulation of Settlement and                     Release~      l(j), Okt. 767-

1.    Haynes,    Gielata,       and Bueno purport to identify an intraclass

conflict     in this case between those persons whose purchases of

Petrobras Securities are connected to the U.S. solely by virtue of

the fact that their transactions were cleared or settled through

the    Oeposi tory       Trust     Company     ("OTC")       in   New     York     (the      "OTC

claimants")        and     those    persons         whose    purchases      of     Petrobras

Securities are otherwise domestic under the operative case law

(the "domestic claimants"),                for example because their purchases

took     place    on     U.S.    exchanges.       According       to    Gielata,       the        OTC

claimants are not properly part of the class at all and should be

filtered out by a           special master.           See Gielata Obj.           at    4     ("the

problem here is not the              'classic'       Amchem conflict necessitating

subclasses. Rather, the structural conflict here is [] class member

claimants versus claimants that cannot be part of the class because

their claims are barred by Morrison"). According to Haynes, while

the OTC claimants may properly be part of the class, the domestic

claimants        are   entitled      to     separate        representation         given          the

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relative strength of their claims. See Haynes Obj.                                        at 6. Haynes

proposes     that           the     Court    certify            two   or    three       subclasses         for

purposes     of        negotiating           a     new         settlement        (or    continuing         the

litigation).           Id.    at 8.        Bueno similarly suggests that                        the Court

appoint subclass representatives. See Bueno Obj. at 9.

        What this boils down to as a practical matter is that certain

claimants who would have been unable to join the litigation classes

previously        certified by              the      Court        because        of    extraterritorial

impediments are now included in the settlement class so that the

defendants            can     buy     "global         peace."         In    the        Second    Circuit,

plaintiffs are entitled to settle even entirely non-meritorious

claims. See In re Am.                  Int' l Grp.,             Inc. Sec. Litig.,             ("AIG"), 689

F.3d 229,        243        (2d Cir.       2012)     ("defendants in class action suits

are entitled to settle claims pending against them on a class-wide

basis     even         if     a     court        believes         that     those        claims       may    be

meritless   11
                 ).   While "no class may be certified that contains members

lacking Article               III    standing,       11
                                                          class members who have suffered

injuries-in-fact,                 as all putative members here have,                           can settle

their     claims            "irrespective             of        whether      their        injuries         are

sufficient to sustain any cause of action.                                  11
                                                                                  Denney v.       Deutsche

Bank AG, 443 F.3d 253, 264-5 (2d Cir. 2006).

        Domesticity - although not a matter of Article III standing,

see Morrison v.               Nat'l Australia Bank,                   561 U.S.         247,    254    (2010)

("to ask what conduct                  §    10 (b)        reaches is to ask what conduct                     §


                                                          11
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lO(b) prohibits, which is a merits question")                          - is an element of

plaintiffs' securities fraud claims.                 If contested by defendants,

domesticity must be proven by plaintiffs as part of their case-

in-chief.       But     defendants       here     have        waived     any     domesticity

requirement for the purposes of settlement. See Def. Reply at 3.

Accordingly, even though the Court previously found that the DTC

claimants could not establish domesticity as a matter of law (but

not because they lacked Article III standing),                          Gielata is wrong

that    the   DTC claimants cannot be part of the settlement class

(assuming that the other requirements of Rule 23 are met).                                  See

AIG, 689 F.3d at 237-44 (certifying a settlement class even though

some or all of the class members could not satisfy the reliance

element of their securities fraud claims); Sullivan v. DB Invs.,

Inc.,    667 F.3d 273         (3d Cir. 2011)      (certifying a settlement class

even though some members of the class lacked statutory standing) .

        Another objector,          Haynes,      concedes       this much.        But,   Haynes

argues,       while     the     "release     of   claims        arising        from     foreign

transactions might             command some settlement value,"                   the    "proper

valuation" of such "foreign" claims must be "tested through arms-

length negotiation by separate representatives." Haynes Obj. at 7.

Since     Class     Counsel     were    "obligated       to    advance     the    collective

interests      of     the     class,"   Haynes    reasons,       they were         unable    to

represent         the   distinct        interests        of     the      subclasses.        Id.

(quotations omitted). As a result, Haynes concludes, Class Counsel

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agreed to a proposed settlement agreement that unfairly diluted

the recovery of domestic-purchasing class members (like Haynes).

        Federal Rule of Civil Procedure 23 (a) (4)                  requires that the

representatives in a class action "fairly and adequately protect

the interests of the class." The Rule, among other things, "serves

to uncover conflicts of interest between named parties and the

class     they    seek    to     represent."      Amchem,      521     U.S.     at    625.

Representation is "adequate" where the class representatives have

(1) an interest in vigorously pursuing the claims of the class and

(2) no interests antagonistic to the interests of the other class

members.     In     re   Payment     Card    Interchange      Fee     & Merch.       Disc.

Antitrust     Litig.     ("Payment     Card"),    827    F.3d 223,      231     (2d Cir.

2016),    cert.     denied     sub   nom.   Photos   Etc.     Corp.    v.     Home   Depot

U.S.A., Inc., 137 S. Ct. 1374 (2017).

        In the event a court identifies a "fundamental" conflict that

goes "to the very heart of the litigation," Charron v. Wiener, 731

F.3d 241,     250    (2d Cir.      2013)    (quotations omitted),           the conflict

must be addressed with a "structural assurance of fair and adequate

representation for the diverse groups and individuals" among the

class, Amchem, 521 U.S. at 627. "One common structural protection

is division of the class into                'homogenous subclasses under Rule

23 (c) (4) (B), with separate representation to eliminate conflicting

interests of counsel.'" Payment Card,                   827   F. 3d at 231       (quoting

Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999)). Where a court

                                             13
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certifies a class at the same time as it approves a settlement,

these requirements -       "designed to protect absentees by blocking

unwarranted or overbroad class definitions" -               "demand undiluted,

even heightened, attention." Amchem, 521 U.S. at 620.

        Two Second Circuit cases bear on the question of whether there

is a fundamental conflict here between the DTC claimants and the

domestic claimants such that a          failure to divide the settlement

class     into   subclasses    makes   it    impossible     for   the   Court    to

determine whether the interests of all class members were fairly

and adequately represented. The first is In re Literary Works in

Electronic Database Copyright Litigation              ("Literary Works"),       654

F.3d 242     (2d Cir.   2011),   a   copyright dispute.      In that case the

proposed     settlement    agreement        divided   the   class   into    three

categories:      "Category A" covered works that had been registered

with the Copyright Off ice in time to be eligible for statutory

damages and attorneys'        fees under the Copyright Act; "Category B"

covered works that had been registered with the Copyright Office

but not in time to be eligible for statutory damages; and "Category

C" covered all other works, none of which could be litigated for

damages purposes unti 1        they were      registered with the Copyright

Office.    Id.   at 246.   Category A and B claims were substantially

stronger than Category C claims, but Category C claims comprised

more than 99% of all claims held by the putative class. Id.




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     The proposed plan of allocation in Literary Works employed a

damages formula that disadvantaged Category C claims in a variety

of ways. Among other things,          the formula paid each Category A or

B claim substantially more than each Category C claim.                          Id.    The

settlement also capped defendants'               total liability at $18 million

and, if the total amount of all claims plus costs and fees exceeded

$18 million, then the payout to Category C claims would be reduced

pro rata until the total amount of all claims plus costs and fees

reached $18 million. Id. Only if, after reducing Category C claims

to zero,    the payout due to Category A and B claims exceeded the

available funds would a reduction be applied to the Category A and

B claims. Id.

     In these circumstances,          the Second Circuit found that class

members'    "interests       diverge [d]    as    to    the   distribution      of"    the

recovery because "each category of claim is of different strength

and therefore commands a different settlement value." Id. at 254.

Al though   all    parties    in   Literary Works         agreed     that     Category C

claims were the weakest,           the court saw "no basis              for assessing

whether     the     discount       applied        to     Category       C's     recovery

appropriately reflect[ed]          that weakness."            Id.   at 253.    Nor could

such a basis be established, the court concluded, "in the absence

of   independent        representation."          Id.    After       all,     the     named

plaintiffs -      who held combinations of claims - had "no incentive

to maximize       the   recovery   for     Category-C only plaintiffs,                whose

                                           15
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claims were lowest in settlement value but eclipsed all others in

quantity." Id. at 254.

        In the      second relevant           case,    Payment Card,        the    settlement

agreement split plaintiffs into two classes: a Rule 23(b) (3) class

covering merchants who accepted Visa or MasterCard between 2004

and 2012      (the "(b) (3)         class")    and a Rule 23 (b) (2)        class covering

merchants who accepted Visa or MasterCard from 2012 onwards                                   (the

"(b) (2)      class").      See     827   F.3d    at     229.      The   proposed     plan     of

allocation awarded the (b) (3) class up to $7.25 billion in monetary

relief     and   the      (b) (2)    class     injunctive       relief     in   the    form    of

changes to various network rules.                     Id. While members of the (b) (3)

class could opt out, members of the                      (b) (2)    class could not.          Id.

Nonetheless,        the    same counsel         represented both classes.               Id.    at

234.     In    these      circumstances,         the     Second      Circuit      found     that

representation was inadequate because the (b) (3) class "would want

to maximize the cash compensation for past harm" and the                                  (b) (2)

class      "would    want     to    maximize      restraints        on   network      rules     to

prevent harm in the future." Id. at 233. "Unitary representation

of     separate        classes        that     claim      distinct,        competing,         and

conflicting relief create unacceptable incentives for counsel to

trade benefits to one class for benefits to the other in order

somehow to reach a settlement." Id. at 234.

        The facts in the instant situation are dramatically different

from the facts in Literary Works and Payment Card. To begin with,

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here, unlike in Literary Works, all plaintiffs have been placed on

an   equal        footing   because    defendants      waived    any     domesticity

challenge for settlement purposes.             8   And here,    unlike   in Payment

Card,   9   where the same lawyers sought to represent two settlement

classes with starkly distinct interests,                both the OTC claimants

and domestic claimants in this case suffered the same injury and

are receiving the same relief. Moreover,                there are no claimants

here who have not yet been injured, i.e. there is a closed universe

of potential claimants.

        Additional 1 y,     here,   unlike in Literary Works,       10   the parties

provide an explanation for why the weaker claims are being treated



s In Literary Works, the proposed plan of allocation divided
plaintiffs' claims into three sub-groups, with those eligible for
statutory damages receiving greater relief than those not eligible
for statutory damages. 654 F. 3d at 246.

9 In Payment Card, the Second Circuit examined the settlement's
substance for evidence of prejudice and found that "the bargain
that was struck between relief and release on behalf of absent
class members [was] so unreasonable that it evidences inadequate
representation." 827 F.3d at 236. The problem was that merchants
in the (b) (2) class that accept American Express or operate in
states that prohibit surcharging would gain "no appreciable
benefit from the settlement" and merchants that began business
after July 20, 2021 would gain "no benefit at all." Id. at 238.
Thus, in exchange for nothing, "class counsel forced these
merchants to release virtually any claims they would ever have
against the defendants." Id. No such problem exists here, where,
at worst, recoveries of the domestic claimants are very slightly
diluted because the Plan of Allocation does not include a process
for differentiating between their claims and the claims of weaker
claimants (and awarding the latter a lesser amount).

10 In Literary Works, the Second Circuit said it could "discern no
reason, and authors and publishers offer none" for why the Category

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equally to the stronger ones: the substantial administrative costs

of differentiating between the comparatively small number of DTC

claimants and the overwhelming majority of domestic claimants.11

See Supplemental Declaration of Niki L.              Mendoza Regarding Class

Notice,   Exclusion Requests,       Objections,      and Claims      Received   to

Date   ("Mendoza Deel.")    'II'II 17-19,   Exhibit G,      Declaration of Emma

Gilmore in Support of Class Plaintiffs'             Reply Memorandum of Law,

Dkt.   827   (affirming     that    "it     would    be     costly   to   require

transaction-by-transaction determinations of whether" DTC claims

otherwise complied with Morrison and that such analysis would be

"time-consuming"    and    potentially      "delay    the    administration     of




C claimants should bear all the losses if the amount of total
claims exceeded the settlement cap. 654 F. 3d at 254. "That only
one category of claim was targeted for this penalty without
credible justification," the court reasoned, "strongly suggests a
lack of adequate representation for those class members who hold
only claims in this category." Id.

11 Class Plaintiffs estimate that DTC claimants make up about 2%
of the class as defined in the stipulation. See Tr. at 7. This is,
they argue, because most of the noteholders whose purchases cleared
through DTC in New York were domestic within the meaning of
Morrison for other reasons having to do with, for example, the
location of the buyers or sellers or the location of the brokers.
See Pl. Reply at 17. Although Class Plaintiffs' evidence on this
point   is not   conclusive,   objectors provide no alternative
calculations supporting their contention that the percentage is
higher than 2%. Additionally, were the Court to adopt objectors'
proposal, no one contests that the claims administrator would have
to undertake an analysis of each transaction and that such a
process would be both timely and costly, detracting from the
recovery of the Settlement Class and delaying distribution. Id. at
20.


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claims    and distribution          of   funds") .     Lending credence           to    Class

Plaintiffs'     explanation is           the    fact   that not one. institutional

investor has joined Haynes in his objection and Haynes himself has

at most a couple hundred dollars at stake. See Tr.                           at 17: 3    (St.

John)    (estimating Haynes' expected recovery at $66)                  .1 2


        Further still,       each of the three named plaintiffs                    in this

case are represented by separate counsel, and two of those three

named    plaintiffs,     Hawaii      and       North   Carolina,      have     exclusively

domestic     claims,   while    USS      has     both domestic        and    non-domestic

claims. In other words, Hawaii and North Carolina are the sort of

domestic-only class representatives that Haynes and Bueno ask the

Court to appoint. Both were involved in the settlement negotiations

and neither objected to the equal treatment of the OTC claimants,

even though these institutional investors have orders-of-magnitude

more money on the line than Bueno or Haynes and have no plausible

reason to agree to disadvantageous settlement terms.                            See Tr. at

18:12-20     (Dubbs)    (explaining        that     all     of Hawaii's        transactions

were     "domestic"    per    the    Court's        prior    order,   that      Hawaii    was

actively engaged in the settlement negotiations, and that Hawaii

is "satisfied with the result"). Objectors, for their part, provide

no explanation as to why Hawaii or North Carolina would agree to




12Moreover, the Court notes that defendants "would not have agreed
to the Settlement Amount without the inclusion of all the
Settlement Class Members as defined." Def. Reply at 7.

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a    settlement          that   unfairly       diluted     their   expected       recovery.

Indeed, counsel for these Representatives, while also representing

the class as a whole,              have a fiduciary duty to their individual

clients       to     ensure     that   the     Agreement    and    Plan    advance       their

clients'       interests.       Accordingly,         the Court finds       that   there     is

insufficient evidence of prejudice here to warrant the appointment

of    subclass        representatives.          See    Literary    Works     at    252     (in

evaluating the adequacy of representation a Court may "examine a

settlement's substance for evidence of prejudice to the interests

of a subset of plaintiffs")

     (2)     Predominance

           Haynes also argues that the presence of the DTC claimants in

the class definition means that the proposed class fails to meet

the predominance requirement of Rule 23(b) (3). See Haynes Obj. at

9.   The problem,          according to Haynes,          is that domesticity is an

individual question requiring class members to present evidence

that        varies    from      member    to    member      (including,      e.g.,       facts

concerning         the     formation     of    contracts,     placement      of    purchase

orders, and exchange of money).                  Id. Haynes faults plaintiffs for

failing to put forth "class-wide evidence" of domesticity, which,

Haynes argues, is needed to "prevent the fact-finder from 'having

to look at every class member's transaction documents to determine

who did and who did not have a valid claim.'" Haynes Obj. at 10

(quoting In re Petrobras Sec., 862 F.3d 250, 274 (2d Cir. 2017)).

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        But the predominance requirement differs between trial and

settlement.     See AIG,   689 F. 3d at 241.         That,    as noted above,      is

because "with a settlement class, the manageability concerns posed

by numerous individual questions [] disappear." Id. After all, the

proposal is "that there be no trial." Arnchem,                  521 U.S.    at 620.

Although    a   Court   must      still    consider    whether     the     class   is

"cohesive," all plaintiffs here claim injury by reason of the same

conduct,    defendants'    purported misrepresentations            and omissions

are common to all,      plaintiffs'        proof of intent would not differ

between class members,           and all    class members      have   suffered an

identical kind of injury. See Green v. Wolf Corp., 406 F.2d 291,

299-301 (2d Cir. 1968)     .13   Accordingly, while a class including DTC

claimants and domestic claimants might have created manageability

problems or other challenges at trial,                here,    in the settlement

context, such concerns are irrelevant. As domesticity is the only

issue objectors contend poses a problem in this regard, the Court

finds    that   common issues predominate and that Rule 23 (b) (3)                 is

satisfied for purposes of settlement.           14




13Moreover, the Second Circuit has previously held in this very
case that,   even in the trial context,      after weighing the
relationship between common and individual questions, the district
court might yet "determine that any variation across plaintiffs"
when it comes to domesticity on balance were "insufficient to
defeat predominance." In re Petrobras Sec., 862 F.3d at 274 n.27.

14The Court approves the Plan of Allocation for the same reasons
set forth above, finding that it is fair, reasonable, and adequate.

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    B. Class Notice

        Gielata argues that the Class Notice is deficient because it

fails     to    disclose    three   categories          of    materially       relevant

information:      (1) the percentage of the Settlement Fund apportioned

to American Depository Shares             ("ADS");     (2)   an explanation of why

a   release is given to the underwriter defendants despite their

failure    to    contribute    to   the    Settlement        Amount;    and     (3)    the

compensation due to the claims administrator. See Gielata Obj. at

9-10.     Gielata   seeks     supplemental        notice      and   objects      to    the

compensation of the claims administrator to the extent                          that    it

exceeds 1% of the Settlement Fund ($30 million). Id.

        As regards the percentage of the Settlement Fund apportioned

to ADS, the Plan of Allocation discloses how that percentage will

be calculated and Gielata cites no case law for the proposition

that such notice is deficient where it does not                        include break-

downs of expected payouts.

        As regards the Underwriter Defendants' contribution (or lack

thereof) to the Settlement Fund, there is no requirement that the

Notice disclose the rationale behind the release. See O'Brien v.

Nat'l    Prop.   Analysts Partners,         739 F.     Supp.    896,    902    (S.D.N.Y.

1990). Moreover, it is permissible for an issuer to provide to the

underwriters that it indemnifies a release in a settlement without

requiring a contribution from those underwriters. And, as the Court

knows     from    its   familiarity        with      the     underlying       case,    the

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plaintiffs'          case against the underwriters was materially weaker

than its case against the Petrobras Defendants and PwC Brazil.

          As regards the claims administrator, that administrator, the

Garden        City   Group,   disclosed    at   the   hearing   (at   the   Court's

direction)       that it will     in no event be paid 1% or more of the

settlement fund and that its compensation is capped at $19 million.

See Tr. at 22. Accordingly, the Court finds that the disclosure in

this case was sufficient (and that the compensation of the claims

administrator is reasonable)          15


     C.   ~   Pres Award

          Haynes and Bueno object to the cy pres recipient designated

in the proposed settlement agreement. See Haynes Obj. at 8-9; Bueno

Obj. at 4. As mentioned at the hearing,                see Tr.,   the Court will

permit further briefing on this issue, as appropriate, if and when

the question becomes ripe for consideration, and the Court retains

jurisdiction for that purpose.

     D. Settlement Amount

          Giulio Pieter Formenti, on behalf of Renewable Carbon Corp.

("RCC"),       objects to the size of the settlement,             arguing that a

"fair" settlement for investors would be "the full value of the

loss realized," or $12.40 per share. See Formenti Obj. at 2. RCC,



15 Bueno also argues that the Notice was deficient because, inter
alia, the Plan of Allocation was not provided on the notice website
and Class Plaintiffs have concealed the damages estimate provided
by their expert. These arguments are without factual basis.

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however,   lacks standing to make this objection.                    RCC sold all of

its Petrobras Securities on July 31, 2013, more than a year before

the first alleged corrective disclosure in this case on October

16, 2014. See id. at 8 (showing that RCC sold its 90,200 shares of

Petrobras on July 31,         2013).     Moreover,         as previously noted,         any

recovery      in    this   case   was    far        from   a   certainty,     given     the

substantial defenses that were raised.

       Bueno also      objects    to    the    settlement       amount   as part       of   a

"kitchen-sink" brief that purports to identify inequities relating

to at least a dozen aspects of the proposed settlement. See Bueno

Obj. at 2-12. But as regards the settlement amount,                         Bueno argues

only that Class Plaintiffs overstate the risks of proceeding to

trial, see id. at 6, and that certain market analysts had expected

settlement figures of between $5 billion and $10 billion, -
                                                          see id.
                                                            - - -
at   2 n.1.    Bueno does     not      weigh       the other Grinnell       factors,        or

consider      the   fact   that   the    settlement        amount   represents     a    65%

premium over the settlements reached by institutional plaintiffs

in the previously-settled indi victual actions.                     Indeed,   the small

number of objectors, their minor stakes in the settlement, and the

size of the premium strongly suggest that the settlement amount is

fair, adequate, and reasonable.

     E. Other Objections

       Bueno also objects to the Plan of Allocation as an "improper

claimant fund-sharing scheme," id. at 9-11, that is "inappropriate

                                              24
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to the extent that silent class members receive nothing and class

members who submit claims do not receive anything approaching their

actual damages," id. at 10. But the only relevant authority cited

by Bueno for this proposition is entirely inapposite. See Eisen v.

Carlisle & Jacquelin, 479 F.2d 1005, 1018 (2d Cir. 1973), vacated,

417 U.S. 156 (1974)       (finding "fluid recovery" an "illegal" solution

to   manageability       problems) .   16   Among    other   things,       the    proposed

settlement here requires proof of claim and the Plan of Allocation

sets forth estimated distributions per share and per note before

fees and expenses.

        Martinez    objects     to   the     settlement's        release     of    unknown

claims, its failure to take into account "damages due to emotional

stress," its failure to stipulate or disclose the "value" of the

net settlement fund, and the payment of Class Counsel prior to the

Court's determining what amount "was actually paid in cash to the

class." See Martinez Obj. at 1-3.

        Martinez cites no authority for his arguments.                      Indeed,     the

Court    is   of   the   view   that    the       notice   was   sufficient       and   the

Settlement is highly beneficial to Martinez.                     If Martinez remains

a member of the class, Martinez will enjoy a recovery 65% larger

per share than that enjoyed by numerous institutional plaintiffs



16In Eisen, "the cost of obtaining proofs of claim by individual
members of the class and processing such claims was such as to
make it clear that the amounts payable to individual claimants
would be so low as to be negligible." 479 F.2d at 1017.

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who spent large sums of money affirmatively litigating their same

claims against defendants. Moreover, it is worth noting that, even

taking the allegations in plaintiffs'                   complaints as fact,               only a

portion of the losses suffered by Petrobras shareholders in recent

years are attributable to defendants'                   fraud.     Losses incurred due

to economic and political factors cannot be recovered through class

action litigation. Finally, Martinez's objection to the timing of

payment of counsel is discussed below.

II.   Plaintiffs' Motions for Attorneys' Fees and Costs

      Bueno objects to the compensatory award requested by the Class

Representatives,        and Bueno,       the Bishops,       Martinez,          Gielata,      and

Haynes object to the fee award requested by Class Counsel. Wolf

Popper,    Almeida,      KSF,   and BLBG also move,             without opposition or

objection,       for   their    fees   and     costs.     The    Court     considers        each

request in turn.

  A. Class Representatives

        Class     Representatives         seek,      pursuant         to       the        Private

Securities Litigation Reform Act of 19 95                       ( "PSLRA") ,    an award of

$400,000        for    expenses    incurred        directly         relating         to     their

representation of the class. See Memorandum of Law in Support of

Class     Counsel's      Motion    for    an      Award    of     Attorneys'         Fees     and

Reimbursement of Litigation Expenses                 ("Fee Mem.") at 1, Dkt. 787.

        Bueno argues that there is no way for the Court to calculate

the reasonableness of the amount as plaintiffs have not provided

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a break-down.     See Bueno Obj.        at 12. But each Representative has

provided sworn statements detailing the work performed, the people

who performed it, and the time expended. See Dkts. 789-12-14. The

Representatives also calculated estimated hourly rates.                             Id.   The

work performed by named plaintiffs was beneficial to the class and

included      reviewing    drafts      of     the    complaints,        responding          to

defendants'      interrogatories        and      document     requests,        producing

responsive documents,           providing oversight          of   the mediation and

settlement     process,    authorizing         the   settlements,       and    reviewing

drafts of the settlements before they were filed with the Court.

See Corrected Deel. of Jeremy A.                 Lieberman   ~~   449-53,      Dkt.       789.

Lead plaintiff USS's representatives, for example, attended every

substantive hearing and mediation session, and reviewed the vast

majority of     significant       filings.       See Fee Mem.      at    25.    USS also

6onducted at least 70 telephonic and in-person meetings with Class

Counsel. Id.

       When    selecting        the    Class        Representatives,          the     Court

explicitly      sought    out     representatives        prepared       to     be    highly

engaged in the litigation. From its own review, the Court is more

than    satisfied    that       this    expectation         has   been       fully        met.

Accordingly,     the Court finds that the requested awards are fair

and reasonable.

  B. Class Counsel




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        Class     Counsel   seeks   a   fee   award   of    $284.4   million     and

reimbursement of $14,515,235.24 in litigation expenses.

        Haynes,    Gielata,   Bueno,    the   Bishops,     and Martinez   object.

Haynes argues       (1)   that Class Counsel's lodestar is substantially

overstated,       (2) that a multiplier of 1.78 stands at the outer limit

of what the Court should allow, and that, accordingly,                  (3)    class

counsel's fee request should be reduced to $90.3 million or 3% of

the $3 billion fund. See Haynes Obj. at 12-25. Gielata argues that

(1)   no lodestar multiplier is warranted in this case,                 (2)    Class

Counsel's lodestar is vastly inflated,            (3) public policy disfavors

a $285 million fee award, and (4) a fee award of 2% or $60 million

would be appropriate. See Gielata Obj. at 10-20. Bueno argues that

Class Counsel's fee request is excessive.                See Bueno Obj.       at 13.

The Bishops argue that Class Counsel's fee award should be cut in

half.    See Bishop Obj.      at 1. And Martinez argues that the Court

should not award attorney's fees as a percentage of the Settlement

Amount. See Martinez Obj. at 2.1 7

        Under controlling law, "a litigant or a lawyer who recovers

a common fund for the benefit of persons other than himself or his




17As noted, defendants, at the Court's request, submitted a letter
on May 7, 2018 assessing the reasonableness of Class Counsel's fee
application, and flagging for the Court's consideration, inter
alia, the rates charged by more than 100 staff attorneys and
project attorneys, the rates charged for translation work, and
specific instances where counsel's time sheets do not support the
amount of time billed. See Def. Ltr. at 2-3.

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client is entitled to a reasonable attorney's fee from the fund as

a whole." Boeing Co. v. Van Gernert, 444 U.S. 472, 478 (1980). "The

rationale for the doctrine is an equitable one: it prevents unjust

enrichment      of     those      benefitting           from        a     lawsuit        without

contributing to its cost." Goldberger v.                       Integrated Res.,               Inc.,

209 F.3d 43, 47 (2d Cir. 2000). Fee awards also "serve to encourage

skilled counsel to represent those who seek redress for damages

inflicted     on     entire     classes     of       persons,"          and    therefore        "to

discourage     future misconduct          of     a   similar nature."             In     re    FLAG

Telecom Holdings,        Ltd.    Sec.     Litig.,      No.     02       Civ.   3400,     2010 WL

4 5 3 7 5 5 0, at * 2 3 ( S. D. N. Y. Nov. 8, 2010) .

       At the same time, counsel are not entitled to reap a windfall.

See Goldberger, 209 F.3d at 49; Grinnell, 495 F.2d at 469. To that

end,   the Court must consider the reasonableness of the fee award

in light of (1) the time and labor expended;                        (2) the magnitude and

complexities of the litigation;                (3)    the risks of the litigation;

(4) the quality of counsel's representation;                        (5) the requested fee

in relation to the settlement; and                    (6)    public policy.            Id.    at 50

(citing Union Carbide, 724 F. Supp. at 163). In considering these

factors,     Class Counsel's "lodestar" -                   i.e.,       what its work would

have cost if billed at ordinary hourly rates - "remains useful as

a baseline." Id.

       (1)   The Lodestar




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     Class       Counsel       states         a     lodestar       of    $158,923,426.50.            This

amount comprises over $110 million "billed" by Pomerantz contract

and staff attorneys and over $27 million "billed" by Pomerantz

partners        and    associates.       18    It       also     includes       over       $10   million

"billed" by Labaton lawyers and $1.8 million "billed" by Motley

Rice lawyers.

     Rather           than    go   to         the       added,     considerable            expense      of

appointing        a    Special      Master,              the    Court     asked    the       Petrobras

Defendants       to     review     the        time       sheets    of    Class    Counsel        and    to

identify        issues       meriting             the        Court's    close     attention.           See

Transcript dated February 23,                        2018 at 34-35,         Dkt.       773. Although

somewhat unusual, the Court took this step because of defendants'

intimate knowledge of various aspects of the case, and the Court's

confidence was rewarded by the highly professional way in which

defendants' counsel undertook their Court-directed task.

     Among        other       things,          defendants          identified          a    series      of

specific instances where counsel's time sheets did not support the

amount     of     time       billed.      For           example,       defendants'         highlighted

entries for one project attorney who billed 23 consecutive billable




18 Nonetheless, it is well to keep in mind that cases like this one
are always handled on a contingent fee basis, so that plaintiffs'
counsel never do, in fact, bill the class on an hourly basis.
Plaintiffs' counsel's real profit is the difference between what
they pay their attorneys and staff on a salaried basis and what
they receive in their fee award, and to this extent the "lodestar"
is a somewhat artificial measure, though still useful as a check.

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days for reading news articles on Petrobras -                             on most days for

exactly 8. 0 or        9. 0 hours per day -                 totaling approximately 185

hours.    Id.    at 7.    In another instance,               a project attorney spent

seven consecutive days reviewing the Consolidated Third Amended

Class Action Complaint for at least 48 hours of total time after

the Complaint had been filed.                  Id.    Yet another project attorney

billed eight hours per day at $450 per hour listing only "office

closed" as the work description. Id.

        While    Class     Plaintiffs         did    not      necessarily        concede      the

dubiousness of these and other charges questioned by defendants,

they did voluntarily remove a number of them (such as the project

attorney time billed while the office was "closed"), reducing their

total     lodestar       from    $159,496,169.50              to    the     above-mentioned

$158,923,426.50.         See    Pl.    Ltr.    at     29.    At    the    same   time,     Class

Plaintiffs       strenuously          defended       as     justified      and   appropriate

certain other charges identified by defendants. See id. In the end

the Court, having undertaken its own personal review of the time

sheets, concludes that the more global reductions described below,

together        with     the    aforementioned              reductions      agreed       to    by

plaintiffs'       counsel,      sufficiently account               for    any sporadic and

idiosyncratic overcharging that may have occurred.

        Gielata argues that Pomerantz's billing rates for staff and

contract attorneys are excessive and that such rates should be

capped at a maximum of $200 per hour. See Gielata Obj. at 18-20.

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Gielata further argues that the Court should reduce the number of

reimbursable hours billed by these attorneys by 20% because their

work focused on document review. Id. at 19.

        Haynes argues that the $27,857,241.50 charged by 27 foreign

project associates should be billed at-cost as an expense,                               see

Deel.    of   Anna    St.    John   ':IT   5,   Dkt.    800      (listing   the    contract

attorneys     admitted       only   in      Brazil     and    their     amounts    billed).

According to Haynes, an attorney must be at least capable of being

admitted pro hac vice in this Court in order to recover fees for

legal services. See Haynes Obj. at 13-14 (citing Spanos v. Skouras,

364 F.2d 161,        168    (2d Cir.       1966)     (en bane)    and In re One Infant

Child, No. 12 Civ. 7797, 2014 WL 704037, at *5 (S.D.N.Y. Feb. 20,

2014), rev'd sub nom. Souratgar v. Lee Jen Fair, 818 F.3d 72                             (2d

Cir. 2016)     (denying reimbursement for legal services by a foreign

attorney not admitted to practice in the United States)). Haynes

further argues that           the   rates       for contract attorneys            should be

reduced to $75 per hour and that the Court should sanction Class

Counsel for overinflating their lodestar by applying a further 20%

reduction. Id. at 18.

        In evaluating these and other objections, the Court has spent

a   considerable amount of time personally reviewing the billing

documentation submitted by plaintiffs'                       counsel,    as well    as   the

objections      and        responses        pertaining        thereto.      The     various

reductions made below reflect not only that review, but also the

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Court's      familiarity    from   various   other    cases   with   appropriate

billing rates and time allocations.

        As   regards    the time billed by 27        foreign attorneys,       Class

Counsel do not address the case law cited by Haynes or identify

cases supporting their position. Moreover, it would be improper to

charge the class U.S.-attorney rates for this work. Accordingly,

the full amount billed by these individuals must be deducted from

Class    Counsel's      lodestar   (approximately $27, 569, 829)     .19   However,

Class Counsel may add to their reimbursement request the actual

costs they incurred compensating these attorneys.

        As regards the amounts billed by staff and contract attorneys

in   this      action     (approximately     $89,410,520.50     at    Pomerantz,

$6,375,370 at Labaton,        and $1,180,333 at Motley Rice),              see Def.

Ltr. at 10, 20 the Court agrees with objectors that a reduction is

appropriate to account for the considerable time spent by these

attorneys on low level document review. However,               given the legal



19 This figure takes into account the fact that Pomerantz, in
adjusting its original    lodestar,   already subtracted around
$287,412.50 from the time billed by these attorneys. See Deel. of
Anna St. John ~ 5, Dkt. 800.

20 Whereas the Petrobras Defendants calculated a staff and project
attorney lodestar for Motley Rice of $1,201,798, see Dkt. 793 at
10, the lower figure cited above takes into account the fact that
Motley Rice withdrew certain time entries, reducing this amount by
at least $21,465. Similarly, the figure for Pomerantz represents
the firm's revised lodestar, $116,980,349.50, see Pl. Ltr. at Ex.
A, less the amount billed by individuals not admitted to practice
law in the United States, $27,569,829.


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experience,          language skills, and status of these attorneys,21 the

Court disagrees with Gielata and Haynes that their rates should be

capped at or below $200. A more appropriate reduction is the one

suggested by Gielata of 20%.

        As     regards    the     amounts        billed       by   these     attorneys    for

translating documents,            however, a further reduction is required.

While        Class    Counsel    appropriately           used      attorneys    to   perform

certain        translation       work      in     this    case,      such    work    is   not

appropriately billed at rates of between $325 and $625 per hour.

Accordingly,           these     amounts         (approximately        $10     million     at

Pomerantz, $4,162,555 at Labaton,                     $752,783 at Motley Rice)22 must

be reduced by a further 50%.

        Applying all the foregoing adjustments, and "rounding up" the

figures       in     counsel's    favor,        the   Court     calculates     an    adjusted




21 For example, some of these attorneys received health insurance
and an opportunity to participate in the firm's 401(k) program.

22 $13,174,549 of Pomerantz's original lodestar is attributable
solely to translation work performed by staff and project
attorneys. See Def. Ltr. at 6. This figure, however, is both over-
and under-inclusive. It is over-inclusive because it counts the
time "billed" by non-U.S. attorneys, which the Court determined
should be subtracted in its entirety. It is under-inclusive because
it does not count the sdbstantial amount of time "block billed" by
Pomerantz lawyers for multiple tasks, including translation work.
Indeed, the total time attributable in whole or in part to
translation is more than $35 million and, subtracting non-U.S.
attorney time, around $25 million. Nonetheless, this figure is
still considerably over-inclusive. Accordingly, the Court adopts
$10 million as a reasonable estimate of the amount of time
Pomerantz billed (in its remaining lodestar) for translation work.

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lodestar       of    $104.8     million,        consisting         of     $96.0     million        at

Pomerantz,       $7. 5 million at Laba ton,               and $1. 3 million at Motley

Rice.

        (2)    The Multiplier

        "[T]here      is   a    strong     presumption            that     the     lodestar        is

sufficient," Perdue v. Kenny A., 559 U.S. 542, 546 (2010), without

an enhancement multiplier. The fee applicant bears "the burden of

proving that an enhancement is necessary." Id. at 553.

        Gielata contends that no multiplier is warranted in this case

because the risk of non-recovery was practically nonexistent, and

Class Counsel's representation was unexceptional. See Gielata Obj.

11-16. Haynes concedes that a multiplier is warranted but argues

that no more than the requested 1.78 multiplier is appropriate.

See     Haynes      Obj.   at    19-23.       Anticipating          a     possible        lodestar

reduction, Class Counsel argues that even at "$104,461,062                                      [the]

requested       multiplier       would     be    2. 7,     well     within       the     range     of

acceptable          multipliers     in     this      Circuit."           Pl.      Ltr.     at     29.

Accordingly, Class counsel contend, the Court should honor the ex

ante fee agreement executed by Class Counsel with USS and award

$284.5 million. See Fee Mem. at 17-21.

        As    an initial matter,          the Court         finds        that    there was,        as

previously mentioned, sufficient risk at both the motion to dismiss

phase     and the motion          for    summary         judgment       phase     to     warrant    a

multiplier.         Additionally,       the     Court     finds     that        Class Counsel's

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performance was in many respects exceptional, with the result that,

as noted, the class is poised to enjoy a substantially larger per

share recovery than the          recovery enjoyed by numerous              large and

sophisticated plaintiffs who separately settled their claims.                          It

also   bears   mentioning,      however,      that    this    case   involved       fraud

allegations    that     were    previously     widely        reported   and    heavily

investigated by the authorities            in Brazil,         so that much of the

work that might otherwise have been required of plaintiffs' counsel

had already been done, and done in a way that enhanced plaintiffs'

bargaining position. As for the fact that plaintiffs negotiated,

at the outset of the case,           a particular fee arrangement with a

particular client, this is at best just one factor to be weighed

in assessing, after settlement has been reached,                     the full set of

intervening    events    that    have   occurred and          that   provide    a    much

better indication of what was the value of the attorneys' work to

the class as a whole than any before-the-fact private agreement

reached with an individual plaintiff.

       Indeed, one purpose of the lodestar check is to ensure that

even an arms-length fee agreement reached between class counsel

and class representatives does not result in a harvest of fees at

the expense of the class. As Class Counsel's adjusted lodestar is

$104.8 million (and Class Counsel likely spent far,                     far less than

this   compensating      its    attorneys),     the    Court    believes      that    the

original 1.78 multiplier requested by Class Counsel is sufficient

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to adequately account          for the      risks undertaken and the results

achieved.      Additional       compensation          above      this      amount     would

represent a windfall to Class Counsel, who were highly incentivized

to heavily litigate this huge case regardless of the expected fee

award.

        It is important to also remember that we are dealing here,

not    just with percentages,         billable rates,            and multipliers,          but

with very large amounts of money in absolute terms that plaintiffs'

counsel    will be     receiving under any analysis.                   Accordingly,        the

Court grants Class Counsel's motion in part and awards fees in the

amount of $186.5 million - consisting of $170,880,000 to Pomerantz,

$13,350,000 to Labaton, and $2,314,000 to Motley Rice - or roughly

two-thirds of what was sought. The Court also awards costs in the

amount of $14,515,235.24, plus whatever amount Class Counsel paid

to employ the 27 foreign contract attorneys mentioned above.

        As regards the fee award, fifty percent is payable to counsel

immediately upon entry of final judgment. The other fifty percent

shall    be   paid   only     after   the     distribution        is    completed.      This

schedule, which the Court has routinely employed in other cases,

reflects that, on the one hand, counsel have spent a great deal of

time     and money    to    litigate     this       case   and    should    not     have    to

continue      to   shoulder    the    costs    of    funding     this    1 i tigation      any

longer than necessary, but that, on the other hand, counsel should

not be paid in full before their clients have received any of their

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recovery,       nor would it be helpful to eliminate an incentive for

counsel       to monitor   the       distribution agent             and ensure     that   the

settlement funds are distributed expeditiously. Dispensing half of

counsel's       fee   award     now       and    half     later     achieves     both   these

purposes. 23

     C. Wolf Popper and Almeida

        Wolf Popper and Almeida, counsel for the plaintiffs in Kaltman

v. Petroleo Brasileiro S.A., No. 14 Civ. 9662                          (S.D.N.Y.), seek an

award of $307,629 in attorneys' fees and reimbursement of $1,219.66

in expenses. See Pl. Reply at 26-27. Class Counsel agrees to pay

these    fees    out of its         fee    award.       Id.   As   regards Wolf     Popper's

reimbursement         request       (which       includes      costs    for    filing   fees,

publishing the PSLRA notice,                    and online research)           Class Counsel

states that it is reasonable and the Petrobras Defendants state

that counsel made a             substantial contribution to                   the settlement

outcome for the Settlement Class. Accordingly,                           the Court grants

Wolf Popper's and Almeida's motions in full.

     D. KSF

        KSF seeks $589,915.50 in attorneys' fees and reimbursement of

$2, 650 in expenses.          Id.     at 27.      Class Counsel agrees to pay the

requested fees from its fee award. As regards KSF's expense request



23As noted earlier, Martinez objects to the immediate payment of
counsel's legal fees. While it is not clear what timing objector
has in mind or exactly what his rationales are, this resolution
more than addresses any legitimate concerns he might have.

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(which includes primarily transcript and court                          reporter costs),

Class Counsel represents that KSF's work was performed with proper

diligence      and    the    Petrobras       Defendants       state     that    KSF made      a

substantial         contribution       to    the    class.    Accordingly,       the    Court

grants KSF's motion in full.

  E. BLBG

        BLBG seeks $2,114,085 in attorneys' fees and reimbursement of

expenses       in    the    amount   of     $1,146,873        for    work   performed       and

expenses incurred in relation to the prosecution of its claims on

behalf of plaintiffs in four related cases: Hartford Mutual Funds,

Inc.    v.   Petroleo Brasileiro S.A.,               No.     15 Civ.    9182    (S.D.N.Y.);

Massachusetts Mutual            Life    Insurance Co.          v.    Petroleo Brasileiro

S.A.,    No.    15    Civ.    9243     (S.D.N.Y.);         Pacific     Funds,   et.    al    v.

Petroleo Brasileiro S.A.,              No.    16 Civ.        2013    (S.D.N.Y.);      and The

Prudential Insurance Co. v. Petroleo Brasileiro S.A., No. 16 Civ.

7192    (S.D.N.Y.).        See Application of Bernstein Litowitz Berger                       &

Grossmann LLP for Reimbursement of Attorneys'                         Fee and Litigation

Expenses ("BLBG Mem."), Dkt. 785.

        BLBG does not seek an award equal to its lodestar but rather

wishes that its adjusted lodestar be recognized by the Court and

allocated at Class Counsel's discretion. See BLBG Mem. at 5. Class

Counsel offers, with this caveat,                   to pay BLBG's fees out of its

own fee award. See Pl. Reply at 29.




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       As     regards        BLBG's     reimbursement           request,           Class    Counsel

"observe[s]          that     $256,867.35       of     the     requested       expenses         [are]

attributable to the retention of the Direct Action Plaintiffs'

loss causation/damages expert," who submitted a report that, Class

Counsel asserts, was not beneficial to the Settlement Class. See

id.    Indeed,   Class Counsel argues that the report was,                                 in fact,

detrimental to the Class and that reimbursement of this expense

should be denied. See id. at 30.

       The balance of BLBG's expense request consists of $616,745.70

for external ESI vendors,                   $192, 4 00   for a        financial       consultant,

$21,371.91       for         travel,    working          meals,        and     transportation,

$18,810.09       for        legal   research        services,         $17,842.96          for   court

reporting,       transcripts,          court        fees,      and    service        of    process,

$17,333.34 for mediation fees, and $5,502.38 for telephone costs,

postage, and delivery costs. See Dkt. 786-28.

       While     BLBG       persuasively        argues       that     many     of    its     efforts

substantially aided the class and that the inclusion of the four

above-mentioned plaintiffs in the settlement was a material term

to the Settlement Agreement, a contention that neither defendants

nor objectors dispute,                see BLBG Mem.          at 18,     BLBG fails to show

that    its    disbursements           for     mediation        costs        and    expert      costs

advanced       the     interests       of     the     class.   24    When    these        plaintiffs


24BLBG does not even seek to explain why or how the mediation
benefited the class. See BLBG Mem. at 20.

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decided to pursue individual actions rather than join the class,

they accepted the risk that expense incurred by their counsel for

efforts that did not       redound to the benefit of the class                         (for

whatever reason) would not be reimbursed by the class in the event

that   they   later    chose     to    opt-in       to   a   class-wide     settlement.

Accordingly,    the Court awards             fees   to BLBG in an amount           to be

determined by Class Counsel to be paid out of Class Counsel's fee

award, but costs to BLBG in the amount of only $872,673.04 to be

paid out of the Settlement Fund.

III. Conclusion

       For the reasons stated above, and in the Court's preliminary

approval of the settlement,             the Court finds that the Settlement

Agreement and Plan of Allocation are fair,                    reasonable, adequate,

and otherwise in compliance with all applicable legal standards.

Accordingly, the Court grants the motion of Class Plaintiffs for

certification of the Settlement Class and for final approval of

the Settlement Agreement and Plan of Allocation.

       The Court also grants in part Class Counsel's motion for fees

and costs,     awarding in fees             $300, 000    to USS,    $50, 000    to North

Carolina,      $50,000    to      Hawaii,           $170,880,000      to       Pomerantz,

$13,350,000     to    Labaton,        and    $2,314,000       to   Motley      Rice,   and

$14,515,235.24 plus the costs expended by Pomerantz on 27 foreign

contract attorneys to Class Counsel in costs.




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     The Court also grants in part the motion of BLBG,                              awarding

BLBG fees in an amount to be determined by Class Counsel to be

paid from Class Counsel's fee award and $872,673.04 in costs to be

paid from the Settlement Fund; grants in full Wolf Popper's motion,

awarding       Wolf     Popper   $107, 629      in    fees     to    be   paid   from   Class

Counsel's fee award and $1,219.66 in costs to be paid from the

Settlement Fund; grants in full Almeida's motion, awarding Almeida

$200,000 in fees to be paid from Class Counsel's fee award; and

grants in full KSF's motion, awarding KSF $589,915.50 in fees to

be paid from Class Counsel's fee award and $2,650.59 in costs to

be paid from the Settlement Fund. As regards the fee awards,                                    as

noted above,          counsel are to be paid 50% of the amounts due upon

entry     of    final     judgment      and   the     remaining        amounts    after     the

settlement funds have been fully distributed to the class.

        The Clerk is instructed to enter Final Judgment in accordance

with the preceding paragraph,                 to close docket entry numbers 777,

781, 784, and 791, and to close the case. The Court will, however,

retain      jurisdiction         over     any        further        disputes     arising        in

connection with the implementation of the Settlement or the payment

of fees and costs.

        SO ORDERED.

Dated:         New York, NY
               June~' 2018                                   J?)!!.ftt;           U. S. D. J.




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